 Case: 4:16-cv-02138-JCH Doc. #: 47 Filed: 06/23/18 Page: 1 of 2 PageID #: 263



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

BRUCE FRANKS, JR.,                                  )
                                                    )
       Plaintiff,                                   )
                                                    )        Case No. 4:16-cv-2138
v.                                                  )
                                                    )        JURY TRIAL DEMANDED
DAVID STEINMEYER, et al.                            )
                                                    )
       Defendants.                                  )

     REQUEST FOR VOLUNTARY DISMISSAL OF DEFENDANT STEINMEYER

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), the Plaintiff hereby moves for

voluntary dismissal of all claims against Defendant David Steinmeyer without prejudice, each

party to bear its own attorney fees and costs.

Dated: June 23, 2018                             Respectfully submitted,
                                                 ARCHCITY DEFENDERS, INC.

                                                 By:/s/ Nathaniel R. Carroll
                                                    Blake A. Strode (MBE #68422MO)
                                                    Michael-John Voss (MBE #61742MO)
                                                    Nathaniel R. Carroll (MBE #67988MO)
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 Case: 4:16-cv-02138-JCH Doc. #: 47 Filed: 06/23/18 Page: 2 of 2 PageID #: 264



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that notice of filing and a true and correct copy of the
foregoing was served on all parties of record via this Court’s ECF/PACER notification system on
this 23rd day of June, 2018.

                                                    /s/ Nathaniel R. Carroll
